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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

RAYMOND GRAY, et al                               *

       Plaintiffs                                 *

               -v-                                *
                                                       Civil Action No. 1:13-cv-02270-WMN
OFFICER WILLIAM SCOTT KERN,                       *
et al
                                                  *
       Defendants
                                    *
                          *****************
           STIPULATION OF DISMISSAL PURSUANT TO FED. R. CIV. P. 41

       The parties hereto, by their respective attorneys set forth below, stipulate to the dismissal of

this action against Baltimore County, Maryland ONLY pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii).




                                                                  /s/
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                                                               /s/
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                                                       Attorneys for Plaintiffs




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                                                                /s/
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                                                                /s/
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                                                      and Officer Efren Edwards



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 12th day of March, 2015, a copy of the foregoing

Plaintiffs’ was served via the Electronic Filing System of the United States District Court for the

District of Maryland on the following persons:

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                                                          /s/
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